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                                UNITED STATES DISTRICT COURT
                                   DISTRICT OF NEW JERSEY


 UNITED STATES OF AMERICA, ef at,
                                                            Civil Action No. 24-cv-4055 (JXN)(LDW)
                           Plaintiffs,

         V.
                                                                              OPINION

 APPLE, INC.,

                           Defendant.



NEALS, District Judge;

        This matter comes before the Court on Defendant Apple, Inc.'s ("Apple") motion to


dismiss Plaintiffs United States of America and the Attorney Generals of twenty States'

(collectively, "Plaintiffs")1 Amended Complaint (ECF No. 51) ("Amended Complaint" or "Am.

CompL") for failure to state a claim, pursuant to Federal Rule of Civil Procedure 12(b)(6). (ECF

No. 86). Jurisdiction is proper pursuant to 28 U.S.C. §§ 1331 and 1337(a). Venue is proper

pursuant to 28 U.S.C. § 1391 and Section 12 of the Clayton Act, 15 U.S.C. § 22. The Court has


carefully considered the parties' submissions, the information presented during the Teclmology


Tutorial on November 6, 2024 (ECF No. 200), and the arguments made during the oral argument

on November 20, 2024 (ECF No. 207). For the reasons set forth below, Apple's motion to dismiss

(ECF No. 86) is DENIED.




* The Plaintiff States in this case include the states of New Jersey, Arizona, California, Connecticut, Indiana,
Massachusetts, Maine, Michigan, Muuiesota, Nevada, New Hampshire, New York, North Dakota, Oklahoma, Oregon,
Tennessee, Vermont, Wisconsin, Washington, and the District of Columbia.
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  I. BACKGROUND AND PROCEDURAL HISTORY2

         The underlying issue in this case is whether Apple has engaged in anticompetitive practices

in violation of federal and state antitrust laws. Apple is a global technology company

headquartered in Cupertmo, California. (Am. Compl. ^ 19). The iPhone, Apple's signature


product, is currently the dominant smartphone in the United States. (Icf. at ^ 20, 165, 172,181).

According to the Amended Complaint, Apple maintains a market share of 65 percent m the

smartphone market and 70 percent in the performance smariphone market. (M at ^ 181).


             A. Applets Technology


         To understand Plaintiffs' theories advanced in the Amended Complaint, the Court first

describes the relevant technology. A smartphone is a type of mobile device that utilizes advanced


hardware and software components to allow users to "not only make phone calls, but allow users


to listen to music, send text messages, take pictures, play games, access software for work, manage


their finances, and browse the internet." (Id at ^ 148-49). These functions are provided through


software applications, also known as "apps." (Id at ^ 158). In order for an app to run on a


smartphone, it must communicate with the smarfcphone's operating system ("OS") through


application programming interfaces ("APls"), (M) Apps that inn with a particular smartphone's

OS are native apps. {Id. at ^ 159). With respect to Apple, apps that run with Apple's iPhone

operating system ("iOS") are considered native. (M) Third-party developers can also use APIs for


the iPhone's iOS to create apps for the iPhone. (M at ^158). They can use "middleware" software,


which "provides similar APIs and functionality across a diverse set of operating systems and


devices[J" to create "cross-platform applications without having to write separate code for


individual operating systems or devices." (M at ^ 163). However, developers are bound by certain



2 The following factual allegations are taken from the Amended Complamt that are accepted as true. Sheridan v. NGK
Metals Corp,, 609 F.3d 239, 262 n.27 (3d Cir. 2010).
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policies imposed by Apple that allegedly restrict the developer's ability to standardize the app

across different OS. (Id. at ^ 41). Thus, the app must be approved by Apple to be published on

Apple's App Store. (Id)

        According to Plaintiffs, Apple harms competition by restricting certain cross-platform

technologies that would make it easier for consumers and developers to purchase and develop


products for devices outside of the Apple ecosystem. (M at ^ 41-42, 60-118). Plaintiffs allege

these restrictions affect five key categories: super apps, cloud-streammg apps, text messaging,


smartwatches, and digital wallets. (Id.)

                    i. SuperApps


       A super app is middleware that runs multiple, smaller "mini programs" in one app,


effectively consolidating access to different apps, experiences, content and services. (Id at ^ 61,


63). By using a super app, consumers do not have to find an app in an app store, download the app,


set up the app, and continually log into the app for each specific activity or function that they need.

{Id. at ^ 62, 68). Rather, consumers can simply find, download, set up, and log into one app that


hosts all the activities and functions that would otherwise require multiple, separate apps. (M)

Super apps work by utilizing standard programming languages that enable the app to be used on

"any web browser and on any device," including an iPhone. (Id. at ^ 61). Developers, therefore,


do not need to create apps using a specific device's API. (Id) This access and the functionality of

super apps make them attractive and valuable to users. (M at ^ 62). However, because the same


app can be accessed on different devices with low switching costs, super apps may decrease a


user's dependence on a specific device's operating system. (M at ^ 63, 66). For example, a user


has more choices when purchasing a new smartphone if the super app they rely on can be run just


the same on any smartphone. (Id. at 1] 64).
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        Plaintiffs allege Apple limits super apps through its App Store Guidelines (M at ^ 67).

 Specifically, Plaintiffs allege that Apple has "effectively blocked" developers from creating apps

that host mini programs by (1) requiring apps to display mini programs using text-only lists, (2)

preventing apps from categorizing mini programs, and (3) blocking mini programs from accessing

Apple's in-app payment system and using other payment systems. (Id. at ^ 67-70).


                   it. Cloud StreaminR Apps

        Cloud streaming apps allow users to "run a computaiionally intensive program without


having to process or store the program on the smartphone itself." (M at ^ 72). Rather, the


smartphone utilizes "the computing power of a remote server, which inns the program and streams


the results back to the phone." (M) This allows developers "to bring cutting-edge technologies

and services to smartphone consumers—including gaming and interactive artificial intelligence


services—even if their smartphone includes hardware that is less powerful than an iPhone." (M)


For users, the usage of cloud gaming apps would allow for "rich gaming experiences" without


needing powerful and expensive hardware. {Id.} For developers, cloud platforms can serve as


middleware to develop a single app that works across different smartphone's OS and "provides


more and simpler options for offering subscriptions, collecting payments, and distributing software


updates." (M at ^ 73). Plaintiffs allege that if Apple permitted cloud streaming apps, it could be

forced "to compete more vigorously against rivals" and reduce users need to purchase expensive


phones with advanced hardware. (M at ^ 79).

        According to the Amended Complaint, Apple has prevented third-party developers from

offering cloud gaming subscription services as a native app on the iPhone. (M at D 75). Rather,

Apple has imposed upon developers the "onerous requirement" whereby any cloud streaming


game or update thereto must "be submitted as a stand-alone app for approval by Apple," which
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has "increased the cost of releasing games on the iPhone and limited the number of games"


 developers can make available to users. (M at ^ 76). Apple also requires developers to expend


"considerable time and resources re-engineering apps" to meet its "rules and restrictions" for cloud


games. (M at ^78).

                  iii. Text Messaging


        Importantly, mobile phones allow the exchange of Short Message Service ("SMS") text

messages between other mobile phones, including smartphones. (Id. at ^ 45, 83). Apple Messages


("iMessage") is a native app that allows SMS messages to be exchanged between iPhones and


other mobile phones. (M at ^ 80, 85). SMS, though, does not support modem messaging features


or over the top protocols ("OTT"), like sending large files, editing messages, and reacting with


icons, and encryption, typing indicators, read receipts, and disappearing messages. (M at fl 83,


84). With respect to iMessage, Plaintiffs allege Apple designates the APIs needed to implement

SMS as 'private/" which prevents third-party developers from combining the "'text-to-anyone'


fLmctionality ofSMS with the advanced features of OTT messaging." (M at ^ 85). Thus, iMessage

does not allow text messages to be received by or sent to cross-platform messaging alternatives.


{Id.} Rather, text messages from cross-platform messaging apps can only be received by or sent


from iPhones if all the parties to the text exchange have downloaded the respective cross-platform


messaging app. {Id) In contrast, IMessage allows users to send messages to anyone by entering


their phone number because it "incorporates SMS and OTT messaging." (M)


       Plaintiffs allege Apple inhibits developers' ability to provide a quality cross-platform

messaging app, as compared to iMessage, by (1) preventing developers from combining SMS with

OTT, (2) stopping thh'd-party messaging apps from operating in the background, (3) preventing

access to video previews before answering a video call, and (4) preventing the use of modem
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features on text messages sent from other smartphones. (M at ^ 85-90). Plaintiffs further allege


that Apple has created barriers in communication between iPhones and other smartphones to drive


consumers towards the iPhone and to make it harder for current iPhone users to switch


smartphones. (Id, at \ 90).


                  iv. Smartwatches


       Smartwatches are wrist-worn devices that allow users to access apps and perform other


functions like responding to notifications, making mobile payments, and tracking health data. {Id.


at T[ 95). A smartwatch must be paired with a smartphone to optimize its functionality, so it is

imperative when buying a smartwatch that the user's smartphone is capable of pairing. (Id) Third-

party smartwatches are compatible with smartphones by requiring users to download an app to


their smartphone and then connect the app and watch via Bluetooth. {Id. at ^ 97). Apple Watch,

Apple's smart watch, does not have this functionality and can only be paired with an iPhone. {M.


at ^ 96). However, third-party smartwatches conversely, can pair to the iPhone. (M at ^ 100).


       Plaintiffs allege that once consumers purchase an Apple Watch, they are less inclined to


switch to a different smartphone because the Apple Watch is not compatible with other

smartphones. (M at ^ 94, 96). According to the Amended Complaint, Apple degrades third-party

smartwatohes' functionality through "its technical and contractual control of critical APIs" by (1)

depriving iPhone users with third-party smartwatches of the ability to respond to notifications, (2)

inhibiting third-party smartwatches from maintaining reliable connection to the iPhone, and (3)

undermining the performance of third-party smartwatches that comiect directly with a cellular


network^, at f( 100-03).
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                    v. Digital Wallets

        Digital wallets are "apps that allow a user to store and use passes and credentials, including


credit cards, personal identification, movie tickets, and car keys, in a single app" and can be used


for transactions in mobile apps and websites. (M at ^ 105). According to the Amended Complaint,

if developers could create cross-digital platforms, users would be able to "use the same wallet,


with the same cards, IDs, payment histories, peer-to-peer payment contacts, and other information"


among different devices, thereby making it easier for users to switch smartphones. (M, at 1[ 109).


        Apple Wallet, Apple's proprietaiy digital wallet, is on the IPhone and it incorporates Apple

Pay, Apple's proprietary payment system, to <cprocess[] digital payments on the web, in apps, and


at merchant points of sale. (Id. at ^ 107). It utilizes near-field communication ("NFC") hardware


to provide tap-to-pay. (M at ^ 109). However, Plaintiffs contend that Apple exerts its smartphone


monopoly by precluding banks, merchants, and other parties from using NFC to facilitate tap-to-


pay and the ability to "develop[] better payment products and services for iPhone users." (Id. at ^

111-12).

        Beyond not allowing others to utilize NFC, Apple impedes and undermines the capabilities

of digital wallets by restricting others from offering the ability to authenticate digital payment

options during online checkouts, thereby limiting third-party wallets' ability "to provide a simple,

fast, and comprehensive solution to purchasing." (Id. at ^j 116). Further, Apple blocks other digital

wallets from serving as an alternative in-app payment, which prevents these wallets from


improving users' experiences by including "use of rewards points in purchasing, digital receipts,


returns, loyalty programs, and digital coupons for purchases of relevant subscriptions and digital


goods." {M. at T| 117).
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             B. Procedural HistoxT


         On March 21, 2024, Plaintiffs initiated this antitrust action against Apple. {See ECF No.

 1). On June 11 , 2024, Plaintiffs filed an Amended Complaint which added Indiana, Massachusetts,

Nevada, and Washington as Plaintiffs and a claim for relief under Tennessee state law. (See


generally Am. CompL). In total, the Amended Complaint raises seven claims for relief; (1)

monopolization of the performance smartphone market in the United States (First Claim for

Relief); (2) attempted monopolization of the performance smartphone market in the United States

(Second Claim for Relief); (3) monopolizatlon of the smartphone market in the United States

(Third Claim for Relief); (4) attempted monopolization of the smartphone market in the United

States (Fourth Claim for Relief); (5) violation of the New Jersey Antitrust Act, NJ. Stat. Aim. §

56:9-1, etseq. (Fifth Claim for Relief); (6) violation of the Wisconsin Antitrust Act, Wis. Stat. Ch.

  133.03., efseq. (Sixth Claim for Relief); and (7) violation ofthe Tennessee Trade Practices Act,

Tenn. Code Ami. § 47-25-101, ef seq. (Seventh Claim for Relief). (See jd)


        On August 1, 2024, Apple filed a motion to dismiss the Amended Complaint pursuant to

Federal Rule of Civil Procedure 12(b)(6). (ECF No. 86) ("Br."). Plaintiffs opposed the motion

(ECF No. 106) ("Opp'n), to which Apple replied. (ECF No. 169) ("Reply"). This matter is now

ripe for consideration.3


 II. LEGAL STANDARD

        Federal Rule of Civil Procedure 12(b)(6) governs motions to dismiss for "failure to state a

claim upon which relief can be granted." For a complaint to survive dismissal under the Rule, it


must contain sufficient factual matter to state a claim that is plausible on its face. Ashcroft v. Iqbal^


556 U.S. 662, 678 (2009) (citing Bell Ati. Corp. v. Twombty, 550 U.S. 544, 570 (2007)). A claim



3 The Court has also considered Plaintiffs' notice of supplemental authority (ECF No. 255) and Apple's response
thereto. (ECF No. 258).
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is facially plausible "when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged." Id. Although the


plausibility standard "does not impose a probability requirement, it does require a pleading to show

more than a sheer possibility that a defendant has acted unlawfully." Connelly v. Lane Constr.


Corp., 809 F.3d 780, 786 (3d Cir. 2016) (citation modified). As a result, a plaintiff must "allege

sufficient facts to raise a reasonable expectation that discovery will uncover proof of [his or] her


claims." M at 789.


       In evaluating the sufficiency of a complaint, district courts must separate the factual and


legal elements. Fowler v. UPMC Shadyside, 578 F.3d 203, 210-11 (3d Cir. 2009). Restatements

of a claim's elements are legal conclusions, and therefore, not entitled to a presumption oftmtii.


Bwfch v. Milberg Factors, Inc., 662 F.3d 212, 224 (3d Cir. 2011). The Court, however, "must


accept all of the complaint's well-pleaded facts as true[.j" Fouler, 578 F.3d at 210. Even if


plausibly pled, however, a complaint will not withstand a motion to dismiss if the facts alleged do

not state "a legally cognizable cause of action." Turner v. J.P. Morgan Chase & Co., No. 14-7148,


2015 WL 12826480, at n (D.NJ. Jan. 23, 2015).

       To determine a complaint s sufficiency, the Third Circuit requires a three-part inquiry: (1)

the court must first recite the elements that must be pled in order to state a claim; (2) the court

must then determine which allegations in the complaint are merely conclusory and therefore need


not be given an assumption of truth; and (3) the court must "assume the[ ] veracity" ofwell-pleaded


factual allegations and ascertain whether they plausibly "give rise to an entitlement for relief."


Santiago v. Warminster Twp., 629 F.3d 121, 130 (3d Cir. 2010) (citation modified).
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 III. DISCUSSION

          Apple moves to dismiss the Amended Complaint on multiple grounds. First, Apple

 contends the monopolization claims fail because the Amended Complaint fails to allege, (i)

 exclusionary conduct and instead only challenges Apple's lawful refusals to deal; (u) substantial

 anticompetitive effects in the smartphone market; or (iii) Apple's maintenance of monopoly power

 in any relevant market* (See Br. at 18-46).4 Second, Apple argues the attempted monopolization


 claims fail because the Amended Complaint does not plead Apple's specific intent to monopolize

 or a dangerous probability of achieving monopoly power. (See id at 46). Third, Apple contends,

 even if the monopollzation and attempted monopolization claims were to survive, the Court must


 dismiss the "monopoly playbook" allegations that broadly reference other products and services


 offered by Apple but are unrelated to Plaintiffs theory of harm. (See id. at 46-48). Finally, Apple

 argues the Plaintiff States lack standing to pursue their claims through either their sovereign

 capacities or under a parens patriae theory. (See id, at 40 n.6). Plaintiffs oppose each of these


 arguments. {See Opp'n at 10-40). The Court addresses each argument in turn.


              A. The Amended Complaint Adequately Alleges Monopolixation Claims Under
                   Section 2 of the Sherman Act (First and Third Claims for Relief).

          "Section 2 of the Sherman Act, in what [the Third Circuit] ha[s] called 'sweeping

 language/ makes it unlawful to monopolize, attempt to monopolize, or conspire to monopolize,


 interstate or international commerce."5 Broadcom Corp. v. Qualcomm Inc., 501 F.3d 297, 306 (3d



 4 For sake of clarity, when citing the parties' briefs, the Court cites to the page number listed in the ECF header. If
 there is no page number listed in the ECF header, the Court cites to the page number listed in the respective document.
 5 Section 2 provides:

          Every person who shall monopolize, or attempt to monopolize, or combine or conspu'e with any
          other person or persons, to monopolize any part of the trade or commerce among the several States,
          or with foreign nations, shall be deemed guilty of a felony, and, on conviction thereof, shall be
          punished by fme not exceeding $100,000,000 if a corporation, or, if any other person, $1,000,000,
          or by unprisonment not exceeding 10 years, or by both said punishments, in the discretion of the
          court,




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 Cir. 2007). A Section 2 monopoly violation consists of two elements: '"(1) the possession of


 monopoly power in the relevant market and (2) the willful acquisition or maintenance of that power

 as distinguished from growth or development as a consequence of a superior product, business


 acumen, or historic accident.'" Queefi City Pizza v. Domino's Pizza, 124 F.3d 430, 437 (3d Cir.


 1997) (quotmgAspe}-t Skiing Co. v. Aspen Highlands Sknng Corp., 472 U.S. 585,596 n. 19 (1985)).

 The parties dispute whether Plaintiffs have adequately alleged both elements. (See Br. at 18-46;

 Opp'n at 10-37). The Court addresses each element in turn.


                     1. The Amended Complaint Adequately Alleges Apple Possesses Monopoly
                        Power in the Smartphone and Performance Smartphone Markets.

         The first element of a Sherman Act Section 2 claim is "'the possession of monopoly power


 in the relevant market.^ Queen City Pizza, 124 F.3d at 437 (quoting Aspen Skimg, 472 U.S. at

 596 n. 19) (emphasis added). Under Section 2, courts must start by defining the relevant market

 because, "[wjithout a definition of [the] market there is no way to measure [the defendant's] ability

 to lessen or destroy competition." Ohio v. Am. Express Co^ 585 U.S. 529, 543 (2018) (quoting


 Walker Process Equip., Inc. v. Food Mack & Chem, Corp., 382 U.S. 172, 177 (1965)); see also


 Concord Assocs., L.P. v. Ent. Props. Tr., 817 F.3d 46, 53 (2d Cir. 2016) ("[The market definition]


 analysis is equally applicable to claims made under Section [2] of the Sherman Act, because

 'without a definition of that market there is no way to measure the defendant's ability to lessen or


 destroy competition.'" (quoting Xerox Corp. v. Media Scis. Int'l, Inc., 511 F. Supp. 2d 372, 383


 (S.D.N.Y. 2007))); see also Queen City Pizza, 124 F.3d at 435 ('"[A] plaintiff must identify the

 relevant product and geographic markets and allege that the defendant exercises market power


 within those markets.1" (quoting Queen City Pizza, Inc. v. Domino's Pizza, Inc.^ 922 F. Supp.




 l5U.S.C.§2.


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 1055, 1060 (E.D. Pa. 1996)). Accordingly, the Court begins its analysis with a discussion of the

 relevant markets.


                                  1, The Relevant Product and Geographic Markets


          Apple argues that Plaintiffs' relevant markets - smartphones and performance smartphones


    are not property defined.6 (Br. at 41 n.33). Plaintiffs counter that the Amended Complaint

 adequately pleads United States markets for smartphones and performance smartphones. (Opp'n


 at 11-13). The Court agrees.


          The relevant market must be a market for particular products or services, the "outer


 boundaries" of which "are determined by the reasonable interchangeability of use or the cross-


 elasticity of demand between the product itself and substitutes for it." Brown Shoe Co. v. U.S., 370


 U.S. 294, 325 (1962). "However, within this broad market, well-defined submarkets may exist


 which, in themselves, constitute product markets for antitrust purposes." Id. (citing Umted States


 v. E. I. du Poni de Nemow's & Co., 353 U.S. 586, 593-95 (1957). The submarket's boundaries


 "may be determined by examining such practical indicia as industry or public recognition of the

 submarket as a separate economic entity, the product's peculiar characteristics and uses, unique


 production facilities, distinct customers, distinct prices, sensitivity to price changes, and


 specialized vendors." M.


          "In most cases, proper market definition can be determined only after a factual inquiry into


 the commercial realities faced by consumers." Queen City Pizza, 124 F.3d at 436 (citing Eastman


 Kodak, 504 U.S. at 482); see also Hanover 3201 Realty, LLC v. Village Supermarkets, Inc., 806


 F.3d 162, 183 (3d Ch\ 2015) (same). As such, courts typically decline to dismiss antitrust claims



 6 In its reply brief, Apple states that it "disputes that the complaint defines a proper market but assumes that it has for
 the purposes of this motion." (Reply at 12 n.3). Since Apples' arguments m its moving brief regarding its lack of
 monopoly power directly reference the relevant markets identified by Plaintiffs, {see Br. at 41, 43), the Court will
 address whether the Amended Complaint has adequately pled relevant product and geographic markets.

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 based on failure to plead the relevant market. Queen City Pizza, 124 F.3d at 436; see also Newcal

 Indus., Inc. v. Ikon Off. Sol., 513 F.3d 1038, 1045 (9th Cir. 2008) ("[S]ince the validity of the

 'relevant market is typically a factual element rather than a legal element, alleged markets may


 survive scrutiny under Rule 12(b)(6) subject to factual testing by summary judgment or trial. )

 (citaiton modified); Netafmi Irrigation, Inc. v. Jain Irrigation, Inc., 562 F. Supp. 3d 1073, 1081

 (E.D. Cal. 2021) (explaining relevant market allegations are often able "to survive scrutiny under


 Rule 12(b)(6)" because "relevant market determinations are typically fact-intensive, with actual

 'inquiry into the commercial realities faced by consumers'" (quoting High Tech. Careers v. Scm


 Jose Mercury News, 996 F.2d 987, 990 (9th Cir. 1993))).

        However, "there is no per se rule prohibiting dismissal on this basis, and plaintiffs have


 the burden of defining the relevant market. Bayer Healihcare LLC v. Second Stone Enters. LLC,


 No. 24-7618, 2025 WL 1531237, at *6 (D.NJ. May 29, 2025). Dismissal may be appropriate

 where a plaintiff: (1) "fails to define its proposed relevant market with reference to the rule of

 reasonable interchangeabUity and cross-elasticity of demand"; or (2) "alleges a proposed relevant


 market that clearly does not encompass all interchangeable substitute products even when all


 factual inferences are granted in plaintiffs favor." Queen Cily Pizza, 124 F.3d at 436-37


 (collecting cases). Accepting the factual allegations underlying Plaintiffs' monopolization claims

 as true, the Court must determine whether the alleged markets underlying the Amended Complaint

 are "implausible." Hanover 3201 Realty, 806 F.3d at 183.


        Here, Plaintiffs allege two relevant markets - smartphones and performance smartphones


   that are differentiated from other types of similar products. (Am. Compl. ^ 164-175). The

 Amended Complaint defines the smartphone market as distinguishable from "feature phones,"


 which offer "less capable hardware and software options," and other portable devices such as




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 tablets, smartwatches, and laptop computers, which "lack the combination of function, size, and


 portability that consumers rely on in a smartphone. (M at ^[172-73).

         While Apple argues the performance smartphone market is "an invented definition


 divorced from commercial reality that may not even encompass all iPhone models," (Br. at 43),


 the Court disagrees. As alleged in the Amended Complaint, the performance smartphone


 encompasses a narrower product market "that compete[s] with most iPhones and excludes the


 lowest-end smartphones, which industry participants sometimes refer to as 'entry-leveP


 smariphones." (Id. at \ 165). As opposed to performance smartphones, entry-level smartphones


 are made with different quality materials with less durability, maintain "lower-performance

 components," and "lack features such as an NFC antenna that allows consumers to use their phone


 to make payments or access passes for public transit." (M at 1[ 168). Further, consumers usually


 purchase performance smartphones "for use with post-paid service plans that include promotional


 discounts to consumers who purchase performance smartphcmes," as opposed to entry-level


 smartphones that generally use pre-paid service plans. {Id. at ^ 169).


        The Court finds the performance smartphone constitutes a "distinct submarket[] for


 antitrust purposes," which, in construing the factual allegations in a light most favorable to


 Plaintiffs, varies in price and quality from entry-level smartphones. United States v. Bertelsmann


 SE & Co. KGaA, 646 F. Supp. 3d 1,28 (D.D.C. 2022) (collecting cases). Other courts have reached

 a similar conclusion. See, e. g.. In fenuitional Boxing Club ofN.Y., Inc. v. U.S., 358 U.S. 242, 250-


 52 (1959) (affirming the district court's finding that "there exists a separate, identifiable market

 for championship boxing contests" as opposed to non-championship bouts (citation modified));

 Syufy Enters, v. Am. Mzdticmema, Inc., 793 F.2d 990, 994-95 (9th Cir. 1986) (affirming jury's

 finding that "industry anticipated top-grossing films constitute a distinct product market"), A.G.




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 Spaldmg & Bros. v. FTC, 301 F.2d 585, 598 (3d Civ. 1962) (affirming the FTC's finding that

 "higher priced and low priced categories [of sporting goods] can be distinguished competitively

 from each other and that they constitute separate and distinct lines of commerce ) (citation

 modified); Federal Trade Comm 'n v. Lancaster Colony Corp., 434 F. Supp.1088,1093(S.D.N.Y.


 1977) ("Plainly, low or moderately-price d glassware, intended for everyday use, differs from fine


 glassware, such as lead crystal, sold at higher prices and marketed through different channels.").


        Apple farther argues that the proposed geographic market -- the United States - ('mask[s]


 the worldwide primacy of Android smartphones." (Opp'n at 43). "[Tjhe relevant geographic

 market is the area in which a potential buyer may rationally look for the goods or services he or

 she seeks." Eichorn v. AT&T Corp., 248 F.3d 131, 147 (3d Cir. 2001) (citation modified).

 "Consequently, the geographic market is not comprised of the region in which the seller attempts


 to sell its product, but rather is comprised of the area where his customers would look to buy such


 a product." Tzmis Bros. Co., Inc. v. Ford Motor Co., 952 F.2d 715, 726 (3d Cir. 1991); see also


 United States Horticultural Supply v. T^ ^0,,^ Co., 367 F.App'x 305,311 (3d Cir. 2010) (noting

 the geographic market is based on buyer behavior). The geographic market "may be local, regional,


 national or international in origin." In re Mushroom Direct Purchaser Antitrust LWg., 514 F. Supp.


 2d 683, 697 (E.D. Pa. 2007). Plaintiffs bear the burden of proving the relevant geographic market.

 Turns Bros., 952 F.2d at 726.


        Plaintiffs' assertion that the United States serves as the relevant geographic market is


 supported by factual allegations of consumer behavior. For example. Plaintiffs allege United States


 users "demand services offered by U.S. retailers when they purchase a smartphone," such as


 "activating their new device, setting it up, and transferring important content like apps, messages,


 photos, and video to their new smartphone." (Am. Compl. ^ 176). In contrast, if a customer




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 purchases a smartphone abroad, the smartphone may (i) face compatibility issues with the

 domestic carrier, (ii) lack "the necessary radio technology to take advantage of the carrier's highest

 speed connections," (iii) limit the customer from accessing support during set up," or (iv) not have


 valid warranty. (M) Second, if customers purchase the smartphones through a United States


 retailer, they will have access to "valuable promotions," whereas the "same promotions and free


 financing are unavailable to U.S. consumers who purchase their phones in other countries." (Id at


 ^ 177). Further, numerous "regulatory requirements" must be met to enter the smartphone market,


 which effectively bars some smartphone makers from offering smartphones to United States


 consumers. (Id. at ^ 178). Additionally, Plaintiffs allege Apple sets different prices "for the same

 smartphone in the United States separately from those in other countries." (M at ^ 179).

 Accordingly, the Court finds the Amended Complaint sets forth plausible allegations that the

 United States is the relevant geographic market.


                            2. Monopoly Power in the Relevant Markets


        Having found that Plaintiffs have adequately pled relevant markets in the United States,

 fine Court must next determine whether Apple maintains monopoly power in these markets. Apple


 argues the monopollzation claims fail because Plaintiffs have not plausibly alleged possession of

 monopoly power in either the smartphone or performance smartphone market. (Br. at 41-46). In


 opposition. Plaintiffs contend the Amended Complaint adequately pleads that Apple possesses

 monopoly power in the smartphone and performance smartphone markets through both direct and


 indirect evidence. (Opp n at 13-18).

        "Monopoly power is the ability to control prices and exclude competition in a given

 market." Broadcom, 501 F.3d at 307 (citing Vnited States v. Grinnell Corp., 384 US. 563, 570-


 71 (1966). "If a firm can profitably raise prices without causing competing firms to expand output



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 and drive down prices, that firm has monopoly power. Id. (citing Hanison Aire, Inc. v. Aerostar


 Inf'l Lie., 423 F.3d 374, 380 (3d Cir. 2005)). The plaintiff bears the burden of proving a defendant

 maintains monopoly power. In re Remeron Direct Purchaser Antitrust Litig. , 367 F. Supp. 2d 675,


 679-80 (D.N.J. 2005). Monopoly power may be proven, (1) through "direct evidence of

 supracompetitive prices and restricted output"; or (2) through indirect evidence of "a dominant

 share in a relevant market" and "significant entry barriers." Broadcom, 501 F.3d at 307 (citation


 modified); see also Mylcm Pharms. Inc. v. Warner Chikott Pub. Ltd Co., 838 F.3d 421, 434-35


 (3d Cir. 2016).

        As monopoly power may be proven through direct or indirect evidence, the Court first


 focuses its analysis on whether Plaintiffs have alleged indirect evidence establishing that Apple

 has monopoly power over the smartphone and performance smartplione markets.


        The parties dispute what percentage of market share must be pled. {See Br. at 43-44; Opp n


 at 13-14). Apple argues monopoly power has never been found by the Supreme Court with "'less


 than 75% market share.'" (Br. at 43 (quoting Ko/on Indifs. Inc. v. E.I. DuPont de Nemows & Co.,


 748 F.3d 160, 174 (4th Cir. 2014)). Whereas, Plaintiffs assert the Third Circuit has held that

 "'[ajbsent other pertinent factors, a share significantly larger than 55% has been required to


 establlsh[] prima facie market power.'" (Opp'n at 13-14 (quotmg United Slates v. Dentsply Int'l,

 399 F.3d 181,187 (3d Cir. 2005)).

        Specifically, "[c]ourts within the Third Circuit have held a defendant has significant market

 share supporting an inference of monopoly power if the defendant possesses sixty percent or more


 market share in the relevant market." Royal Mile Co., Inc. v. UPMC, No. 10-1609, 2013 WL


 5436925, at ift30 (collecting Third Circuit cases); see also Federal Trade Comm 'n v. AbbVie Inc.,


 976 F.3d 327, 371 (3d Cir. 2020) ("A court can infer market power from a market share



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 significantly greater than [fifty-five] percent." (citing Denfspty, 399 F.3d at 187)). Here, Plaintiffs

 allege that Apple maintains a market share of 65 percent in the smartphone market and 70 percent

 in the performance smartphone market. (Am. CompL ^ 181). As such, the Court finds that


 Plaintiffs adequately allege Apple maintains "a dominant share" in both the smartphone and

 performance smartphone markets. Broadcom, 501 F.3d at 307; see also AbbVie, 976 F.3d at 371.7


          The Court next considers whether Plaintiffs have adequately alleged "significant entry

 barriers" to the smartphone and performance smartphone markets. Id (citation modified). Barriers


 to entry include "regulatory requirements, high capital costs, or technological obstacles, that


 prevent new competition from entering a market in response to a monopolist's supracompetitive


 prices." Broadcom, 501 F.3d at 307. "Other germane factors include the size and strength of


 competing firms, freedom of entry, pricing trends and practices in the industiy, ability of


 consumers to substitute comparable goods, and consumer demand." Denlsply Int'l, 399 F.3d at


 187 (citation modified).

          The Court finds that Plaintiffs have set forth adequate allegations of entry barriers and

 "[o]ther germane factors" that support Apple s monopoly power. For instance, as "fewer than ten


 percent of smartphone purchasers in the United States are buying their first smartphone," rivals


 must encourage iPhone users to use another smartphone when they are seeking to replace or


 upgrade their phone. (Am. Compl. ^| 183). The costs associated with switching smartphones leads

 to an "increasingly impenetrable" barrier, as "[njearly 90 percent ofiPhone owners in the United


 States replace their iPhone with another iPhone." (Id.) Additionally, if iPhone users were to

 purchase an Android smartphone, they "may need to re-leam how to operate their smartphone




 7 Apple also argues Plaintiffs should be measm'mg market share by units sold, rather than revenue. (Br. at 43-44), At
 this early stage of the matter, before having conducted any factual or expert discovery, the Court fmds that Plaintiffs
 have adequately alleged market share.

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 using a new interface, transfer large amounts of data (e.g., contacts), purchase new apps, or transfer


 or buy new subscriptions and accessories." (M at ^ 185).


          With respect to other smartphone competitors, introducing a new smartphone into the


 market mandates "considerable investments in acquiring expensive and scarce components such


 as mobile chips and specialized glass for screens." (M at ^ 184). Further, new entrants or those


 seeking to expand presence in the smartphone and performance markets must negotiate


 distribution agreements with mobile carrier networks and satisfy their respective "technical

 requirements" as they sell most smartphones. (M) Plaintiffs allege the significant barriers are


 evidenced by other competitors such as Amazon, Microsoft, HTC, and LG's failure to successfully


 enter the relevant markets. (M at ^ 186). See Bayer Healthcare, 2025 WL 1531237, at *7 (finding

 viable allegations of barriers to entry created by Bayer where "third-party sellers [were] unable to


 sell [their] products"),

          Notwithstanding, Apple argues that Plaintiffs' theories are undercut by Samsung and

 Google remaining "powerful competitors to Apple" and the absence of allegations regarding


 Google or Samsung's inability "to expand their own output to undercut Apple's market share,


   k'. at 44-45). The Court finds these are arguments that are better suited for the summary judgment


 stage. "[AJscertaining market power is fact-intensive and case-specific; thus, market power


 allegations often survive scrutiny under Rule 12(b)(6)." Netafirm Irrigation, Inc. v. Jam Irrigation,


 Inc., No. 21-540, 2022 WL 2791201, at *7 (E.D. Cal. July 15, 2022) (citing Eastman Kodak, 504




 8 In USAinvays, Inc. v. Sabre Holdmgs Corp., No. 11-2725, 2022 WL 874945, at *10 (S.DXY. Mar. 24, 2022), the
 Court rejected Ssbre's argument that the monopolization claim failed because US Airways alleged that two other
 competitors of Sabre also maintained monopoly power. The court stated: "Sabre does not identify any controlling case
 law to suggest that an entity cannot be liable under § 2 for exercising the power to control prices or exclude competition
 in a market because some other entity also exercises the same power in that market." Id. Rather, the court expressed
 <l[a]n 'antitrust defendant's unlawful conduct need not be the sole cause of the plaintiffs' alleged injuries/ so long as
 the conduct was a 'substantial or materially conh'ibuting factor in producing that injury.'" Id. (quoting In re Publ'n
 Paper Antitrust Lilfg., 690 F.3d 51, 66 (2d Cir. 2012)).

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 US. at 466-67; Newcal Indus., 513 F.3dat 1052); cf.Inre Copaxone Antitrust Lif^^o. 22-1232,

 2025 WL 961538, at *9 (D.N.J. Feb. 27,2025) (declining to address indirect evidence ofmonopoly

 power arguments as they were "too fact-intensive for resolution" at motion to dismiss stage and


 "courts generally take this question up at summary judgment or later stages with the benefit of fact


 and expert discovery" (citing Mylcm Pharms,, 838 F.3d at 434-35)).

          For the reasons stated above, the Court finds that Plaintiffs have sufficiently alleged

 indirect evidence showing monopoly power in both the smartphone and performance smartphone


 markets. Accordingly, the Court declines to dismiss the First and Third Claims for Relief on this

 basis.


                       ii. Whether Apple Willfully Acquired or Maintained Monopoly Power

          The second element of a Section 2 claim is that the defendant willfully acquired or

 maintained power. Queen City Pizza, 124 F.3d at 437. "As this element makes clear, the acquisition


 or possession of monopoly power must be accompanied by some anticompetitive conduct on the


 part of the possessor." Broadcom, 501 F.3d at 308 (citing Verizon Common's Inc. v. Law Offices


 ofCurfis V. Trinko, LLP, 540 U.S. 398,407 (2004)). Anticompetitive conduct is "generally defined

 as conduct to obtain or maintain monopoly power as a result of competition on some basis other


 than the merits." Id. "Conduct must do more than merely harm competitors, it must harm the


 competitive process itself." Mj?7/er//?(Y^. Towing Equip. Inc. v. NRC Indus,, 659 F. Supp. 3d 451,


 466 (D.NJ. 2023) (citing Broadcom, 501 F.3d at 308); see also West Penn Allegheny Health Sys.,

 Inc. v. UPMC, 627 F.3d 85, 108 (3d Cir. 2010) ("The line between anticompetitive conduct and

 vigorous competition is sometimes bluny, but distinguishing between the two is critical, because




 9 As the Court finds Plaintiffs have alleged sufficient allegations demonstrating mdirect evidence of Apple's monopoly
 power in the smartphone and performance smartphone markets, the Court declines to address the parties' respective
 arguments on the alleged direct evidence. The parties can raise these arguments again in subsequent summary
 judgment filings.

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 the Sherman Act directs itself not against conduct which is competitive, even severely so, but


 against conduct which unfairly tends to destroy competition itself." (citation modified)).

         Apple contends the Amended Complaint must be dismissed because Plaintiffs do not

 challenge exclusionary conduct, but instead Apple's lawful refusals to deal, which are not subject


 to the narrow exception to this rule set forth \\\Aspen Skiing. (Br. at 18-27). In opposition. Plaintiffs


 contest the refusal to deal doctrine's applicability because the Amended Complaint does not allege

 Apple failed to deal with smartphone rivals, but instead focuses on Apple's imposition of

 "contractual restrictions and rules to control developers and restrict smartphone users in service of


 its monopoly." (Opp'n at 27-36).


        Additionally, Apple argues even if the Court were to find the refusal to deal doctrine

 inapplicable, the challenged actions lack an anticompetitive effect on the smartphone and

 performance smartphone markets, and thus fail to satisfy the second element of a Section 2 claim.


 (Br. at 35-40). In opposition, Plaintiffs contend the Amended Complaint adequately alleges

 anticompetitive conduct that demonstrates, "Apple wields its control over the platform to (1)

 impose technical and contractual restrictions that suppress apps and accessories that (2) operate


 cross-platform and threaten Apple's smartphone monopoly." (Opp'n at 18-27). The Court


 addresses the respective arguments in turn.


                             1. The Refusal to Deal Doctrine Does Not Apply to the Present
                                 Facts

        The refusal to deal doctrine was articulated in 2004 by the Supreme Court in Trinko^ 540

 U.S. at 409, and reaffirmed by the Court in Pacific Bell Telephone Co. v. LinkLine

 Communications, Inc., 555 U.S. 438,448 (2009). "As a general rule, businesses are free to choose


 the parties with wiiom they will deal, as well as the prices, terms, and conditions of that dealing."


 LinkLme, 555 U.S. at 448 (citing United States v. Colgate & Co., 250 U.S. 300, 307 (1919)); see


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 also Trinko, 540 U.S. at 408 ("[A]s a general matter, the Sherman Act "does not restrict the long[-


 Jrecognized right of [a] trader or manufacturer engaged in an entirely private business, freely to

 exercise his own independent discretion as to parties with whom he will deal/" (quoting Colgate,

 250 U.S. at 307)). The Supreme Court has outlined its logic behind this principle, as follows:

         Firms may acquire monopoly power by establishing an infrastructure that renders
         them uniquely suited to serve their customers. Compelling such firms to share the
         source of their advantage is in some tension with the underlying purpose of antitrust
         law, since it may lessen the incentive for the monopolist, the rival, or both to invest
         in those economically beneficial facilities. Enforced sharing also requires antitrust
         courts to act as central planners, identifying the proper price, quantity, and other
        terms of dealing—a role for which they are ill suited. Moreover, compelling
        negotiation between competitors may facilitate the supreme evil of antitrust:
        collusion.

 Trmko, 540 U.S. at 407-08.


        Nevertheless, the Trmko Court recognized '" [tjhe high value that we have placed on the


 right to refuse to deal with other firms does not mean that the right Is unqualified.'" Id. at 408

 (quoting Aspen Skiing, 472 U.S. at 601). The Trmko Court identified Aspen Skiing as "[tjhe leading

 case for § 2 liability based on refusal to cooperate with a rival," id., which upheld a jury verdict

 for the plaintiff, "reasoning that '[tjhejury may well have concluded that [the defendant] elected

 to forgo these short-run benefits because it was more interested in reducing competition . . . over


 the long run by harming its smaller competitor,'" Id. at 409 (quoting Aspen Skiing, 472 U.S. at

 608). Notably, however, the Trmko Court delineated Aspen Skiing as being "at or near the outer


 boundary of § 2 liability." Id. This principle was upheld in LinkLine and the Court reacktiowledged

 "[tjhere [we]re also limited circumstances m which a firm's unilateral refusal to deal with its rivals

 can give rise to antitnist liability." 555 U.S. at 448 (citing Aspen Sktmg, 472 U.S. at 608-11).

        The Court finds the refusal to deal doctrine does not apply to Apple's alleged conduct in

 this case because Plaintiffs do not allege Apple is failing to deal with its smartphone rivals, but



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 rather that Applets conduct is imposing restrictions on developers and smartphone users. Courts


 across the country have refused to extend the refusal to deal doctrine to such conduct. See, e.g.^


 Eastman Kodak, 504 U.S. at 463 n.8 (holding that "sale of parts to third parties on condition that

 they buy service from kodak" is not a unilateral refusal to deal); Lorain J. Co. v. Urn fed States,


 342 U.S. 143, 152 (1951) (holding newspaper that prevented advertisers from dealing with

 competing radio stations violated Section 2); Host Int'l Inc. v. Marketplace, PHL, LLC, 32 F.4th


 242, 250 n.7 (3d Cir. 2022) (acknowledging that "refusing to deal can sometimes establish a

 Section 2 claim[,]" but "only among competitors, and only if the parties have a history of dealing

 paired with facts suggesting a willingness to forsake short-term profits to achieve an


 anticompetitive end") (citation modified); Chase Mfg., Inc. v. Johns McmvUle Corp., 84 F.4th

 1157, 1173 (10th Cir. 2023) (recognizing that the "refusal-to-deal framework applies to narrow

 situations" and refusing to extend it); Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1072 (10th

 Cir. 2013) (Gorsuch, J.) (contrasting unilateral refusal to deal with actionable conduct that "limit[s]

 the abilities of third parties to deal with rivals"). Ceiling & Interior Sys. Supply, Inc. v. USG

 Interiors, Inc., 878 F. Supp. 1389, 1396 (W.D. Wash. 1993) (<<[T]he refusal to deal with third

 parties conditioned on failure to purchase other goods or services, however, is not a unilateral


 refusal." (citing Easfman Kodak, 504 U.S. at 463 n.8)), off d, 37 F.3d 1504 (9th Cir. 1994); United

 States v. Googk LLC, No. 23-108, 2025 WL 1132012, at M3 (E.D. Va. Apr, 17, 2025) (rejecting

 application of refusal to deal framework to Google's conduct that effectively "compelled its [ad]

 publisher customers to use [Google's services]").


        Affording all reasonable inferences to Plaintiffs, the Court denies Apple's motion to

 dismiss the Amended Complaint on this basis.




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                            2. The Amended Complaint Alleges Various Forms of
                               Anticompetitive Conduct.

        The "willful acquisition or maintenance" element invokes a burden-shifting framework to


 determine whether there is anticompetitive conduct. United States v. Google LLC, 747 F. Supp. 3d


 1, 106 (D.C.C. 2024). In Mylcm Pharmaceuficals, the Third Circuit described the burden-shifting

 framework as follows;


        [Tjhe party seeking to impose liability must initially provide evidence of the
        anticompetitive nature of a defendant's conduct. Once established, the defendant
        then has the burden of proffering nonpretextual procompetitive justifications for its
        conduct, and the plaintiff may then either rebut those justifications or demonstrate
        that the anticompetitive harm outweighs the procompetitive benefit.

 838 F.3d at 438 (citation modified). "However, to survive dismissal^] Plaintiffs are required only

 to establish a prima facie case." In re eBay Seller Antitrust Litig., 545 F. Supp. 2d 1027,1033

 (N.D. Cat. 2008).


        Courts have found technological barriers to constitute anticompetitive conduct. See


 Microsoft, 253 F.3dat64; CoSfar Group, Inc. v. Commercial Real Estate Exchange, /??c.,No.23-


 55662, 2025 WL 1730270, at * 11 (9th Cir, June 23, 2025). In Microsoft, Microsoft imposed

 contractual restrictions and "technological shackles" on developers and others that stopped them


 from distributing internet browsers that competed with Internet Explorer, Microsoft's browser. Id


 at 64-65. The restrictions included prohibiting removal of desktop icons, restricting modifications

 of the "initial boot sequence" of Windows, and preventing manufacturers from altering the desktop


 in certain ways. M at 61-62. "Because Microsoft's conduct, through something other than


 competition on the merits, has the effect of significantly reducing usage of rivals' products and


 hence protecting its own operating system monopoly," it was deemed anticompetitive. Id at 65.


        In CoStar Group, the Ninth Circuit recently found that allegations of technological barriers

 that impeded CREXi from competing constituted anticompetitive conduct. 2025 WL 1730270,at


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 * 11. CREXi alleged that CoStar's LoopLink service, which powers brokers' personal websites,


 blocked competitors from accessing the broker's listing information that was otherwise available


 to the public on the brokers' personal websites. M CREXi alleged that "only after brokers

 contracted] with CoStar and build CoStar-powered websites that the brokers realize that they

 cannot transmit their own listing information and photographs to other listing companies via their

 own publicly available websites." Id. The Ninth Circuit found these technological barriers "'inhibit

 the free transfer of information from brokers to companies that compete with CoStar' and '"prevent


 competition in tlie marketplace.'"M (quoting Cascade Health Sols. v. PeaceHealth, 515 F.3d883,


 894 (9th Cir. 2008)).

          The Amended Complaint sets forth several allegations of technological barricades that

 constitute anticompetitive conduct. With respect to super apps, the Amended Complaint alleges


 Apple imposes exclusionary requirements, such as "requiring apps in the United States to display


 mini programs using a flat, text-only list of mini programs" and banning apps from "categorizing


 mini programs," which discourages developers from creating apps. (Am. Compl. at ^ 69). Apple


 also prevents developers from collecting payments. (M at ^ 70). For cloud streaming apps, Apple


 "effectively prevents] third-party developers from offering cloud gaming subscription services as


 a native app on the iPhone," {kl at ^ 75), as it requires any cloud streaming game or update thereto

 to "be submitted as a stand-alone app for approval by Apple," which has increased the cost of




 10 In its brief, Apple argues any alleged exclusionary conduct must be considered separately when determining if there
 is anticompetitive in nature. (Br. at 33- 34). However, the Supreme Court has stated that "plaintiffs should be given
 the full benefit of their proof without tightly compartmentalizmg the various factual components and wiping the slate
 clean afEer scrutiny of each." Contmenfa! Ore Co. v. Union Carbide & Carbon Corp., 370 U.S. 690, 699 (1962).
 Suuilarly, the Third Circuit has stated that "courts must look to the monopolist's conduct taken as a whole rather than
 considermg each aspect in isolation." LePage's Inc. v. 3M, 324 F.3d 141, 162 (3d Ch-. 2003). While the Court
 addresses each of the examples alleged in the Amended Complaint, the Court will look at the anticompetitive nature
 of Apple's alleged conduct ill total in its analysis.

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 releasing games on the iPhone and limiting the number of games developers can make available


 to users. (Id. at ^ 76).


         The Amended Complaint also alleges Apple imposes technological limitations to prevent

 developers from offering key features to iPhone users that are accessible on iMessage, Apple


 Watch, and Apple Wallet. (See U. at ^ 80-1 18). With respect to iMessage, Plaintiffs allege "Apple

 designates the APIs needed to implement SMS as "private/" which prevents third-party developers


 from combining the '"text-to-anyone' functionality of SMS with the advanced features of OTT


 messaging." (M at ^ 85). In contrast, iMessage allows users to send messages to anyone by


 entering their phone number because it "incorporates SMS and OTT messaging. (M)

         Additionally, Plaintiffs allege Apple Watches are only compatible with the iPhone. (Id. at

 ^ 96). Plaintiffs assert that Apple degrades the ftmciionality of third-party cross-platform

 smartwatches through "its technical and contractual control of critical APIs" by preventing iPhone


 users from being able to respond to notifications on their third-party smartwatches, obstructing


 IPhone users from maintaining a reliable connection with the iPhone, and imdermining third-party


 smartwatches' performance that connect directly with a cellular network. (Id. at ^ 100-03).


         Moreover, Apple maintains the Apple Wallet on IPhones and utilizes Apple Pay to

 "process[j digital payments on the web, in apps, and at merchant points of sale." (Id. at ^ 104,


 107). Apple Wallet utilizes NFC hardware to provide tap-to-pay but prohibits developers from

 accessing NFC hardware to incorporate tap-to-pay in cross-platforxn digital wallets. {Id, at fl 109,


 111-12). Further, Apple Wallet is the only app that can use NFC to facilitate tap-to-pay, thereby

 precluding banks, merchants, and other parties, from "developing better payment products and


 services for iPhone users." {Id. at ^} 112). Plaintiffs also allege Apple's restrictions undermine other


 digital wallets from (i) offering the ability to authenticate digital payment options during online



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  checkouts, thereby limiting third-party wallets' ability "to provide a simple, fast, and

  comprehensive solution to purchasing" (/W. at ^ 116); and (ii) serving as an alternative in-app

 payment, which prevents these wallets from enhancing users' experiences by including "use of


 rewards points in purchasing, digital receipts, returns, loyalty programs, and digital coupons for


 purchases of relevant subscriptions and digital goods." (M at ^ 117).

          At the pleadings stage, allegations of this nature, which indicate that Apple acts in a manner

 to protect its monopoly power in the smartphone and performance smartphone market, are


 sufficient to establish aprima facie case under the burden-shifting framework. See Mylcm Pharms.,


 838 F.3d at 437 (citation modified); In re eBay Seller Antitrust Litig., 545 F. Supp. 2d at 1033.

          To the extent Apple argues it can limit access to its "own propriety technology available to

 third parties," (Br. at 34), the Court finds this contention is a factual dispute that must be resolved

 through discovery, not this stage of the litigation where factual disputes are construed in favor of


 Plaintiffs. See Black Box Corp. v. Avaya, Inc., No. 07-6161, 2008 WL 4117844, at ^13 (D.NJ.


 Aug. 29, 2008) ("Avaya's argument that [tjhere obviously are good business reasons for [Avaya]

 to limit access to its maintenance software ... is contrary to the allegations in the Complaint and


 is not property resolved at this stage of the litigation^") (citation modified).

          Accordingly, the Court denies Apple's motion to dismiss the monopolization claims.




 n Apple urges the Court to dismiss Plaintiffs' "monopoly playback" allegations because there is t(no apparent or
 alleged connection to [Plamtiffs'j theory of harm," (Br. at 46-48). The Court recognizes that "[c]ourts in this circuit
 have routinely dismissed sub-theories contained within a claim while allowing other sub-theories to survive."
 lowiDepot.com v, CrossCoimtry Mortg., Inc., 399 F. Supp. 3d 226, 235-36 (DXJ. 2019) (collecting cases); see also
 Sfepan Co. v. P/jzer, Inc., No. 23-1676, 2024 WL 3199834, at *2 (D.NJ. June 26, 2024) (rejecting the plaintiffs
 argument that Rule l2(b)(6) does not allow for entry of a 'piecemeal order' that dismisses portions of claims").
 However, the allegations relating to other anticompetitive conduct Apple purportedly engages in advances Plaintiffs'
 theory of Apple's anticompetitive course of conduct. (See Am. CompL ^ 58-59, 119-25). At this stage of the
 proceedings, the Court declines to dismiss these allegations,

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            B. The Amended Complaint Adequately Allcees Claims for Attempted
                Monopolization (Second and Fourth Claims for Relief).

        In addition to the monopolizatlon claims, Plaintiffs allege that Apple violated Section 2 of

 the Sherman Act by attempting to monopolize the smartphone and performance smartphone


 markets. (Am. Compl. ^ 205-10, 218-23). To prevail on a claim under Section 2 for attempted


 monopolization, a plaintiff must prove: "'(1) that the defendant has engaged in predatory or

 anticompetitive conduct with (2) a specific intent to monopolize and (3) a dangerous probability

 of achieving monopoly power. Philadelphia Taxi Ass'n, Lie v. Uber Techs., Inc.., 886 F.3d 332,


 339 (3d Cir. 2018) (quoting Mylcm PJ-iarms., 838 F.3d at 433). "Liability hinges on whether valid

 business reasons, as part of the ordinary competitive process, can explain the defendant s actions


 that resulted in a dangerous probability of achieving monopoly power." M at 339 (citing Avaya

 Inc., RP v. Telecom Labs, Inc., 838 F.3d 354, 393 (3d Cir. 2016). "'[I]n a traditional § 2 claim, a


 plaintiff would have to point to specific, egregious conduct that evinced a predatory motivation

 and a specific intent to monopolize.'"M at 341 (quoting Avaya, 838 V.3d at 406).

        Apple argues the attempted monopolization claims fail because Plaintiffs did not plead any

 facts evidencing a specific intent to monopolize. (Br. at 46). Th[e] [Supreme Court] and other

 courts have been careful to avoid constructions of § 2 [of the Sherman Act] which might chill

 competition, rather than foster it." Spectrum Sports^ 506 U.S. at 458. In order to establish the


 required intent under Section 2, a plaintiff must plead "something more than an intent to compete


 vigorously [.]" Id. at 459. The intent element is satisfied if monopoly power is deliberately used

 "to foreclose competition, to gain a competitive advantage, or to destroy a competitor." Eastman


 Kodak, 504 U.S. at 482-83).


        The Court finds the Amended Complaint pleads allegations supporting Apple's specific

 intent to monopolize the smartphone and performance smartphone markets. The Amended



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 Complaint includes numerous statements allegedly made by Apple executives regarding the


 barriers set in place to maintain its monopoly. (See, e.g., Am. Compl. ^ 65 (alleging an Apple


 manager stated, "allowing super apps to become "the main gateway where people play games,


 book a car, make payments, etc.' would 'let the barbarians in at the gate.' Why? Because when a


 super app offers popular mini programs, ciOS stickiness goes down'"); id. at \ 71 (alleging "Apple

 blocked cloud gaming apps that would have given users access to desirable apps and content


 without needing to pay for expensive Apple hardware" as it feared a world where 'all that matters


 is who has the cheapest hardware' and consumers could 'buy[J a [expletlve] Android for 25 bux

 at a garage sale and . . . have a solid cloud computing device' that 'works fine'"); id at ^ 91


 (alleging "Apple's Senior Vice President of Software Engineering explained that supporting [over

 the top] messaging in [IMessage] 'would simply serve to remove [an] obstacle to IPhone families

 giving their kids Android phones'"); id, (alleging Apple's Senior Vice President of Worldwide

 Marketing "forwarded an email to CEO Tim Cook making the same point: 'moving iMessage to


 Android will hurt us more than help us'"). At this stage, these allegations are sufficient to


 demonstrate Apple's specific intent to monopolize the smartphone and performance smartphone


 markets. See BanxCorp v. Banh'ate Inc., No. 07-3398, 2011 WL 6934836, at *23 (D.NJ. Dec.30,


 2011) (holding that specific intent was demonstrated where statements by Bankrate's Chief

 Executive Officer acknowledged there were barriers to competition enabling Bankrate to increase


 prices without losing customers).


        Further, in a footnote, Apple argues Plaintiffs fail to "allege a dangerous probability that

 Apple can exclude Google, Samsung, and its other rivals to achieve a monopoly power." (Br. at


 46 n.8). The Court disagrees. When considering the dangerous probability of achieving monopoly

 power, courts "may consider factors such as 'significant market share coupled with anticompetitive




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 practices, barriers to entry, the strength of competition, the probable development of the industry,


 and the elasticity of consumer demand' to determine whether dangerous probability was alleged


 in the pleadings." Philadelphia Taxi Ass 'n, 886 P.3d at 342 (quoting Broadcom^ 501 F.3d at 318).

 As discussed supra, the Amended Complaint alleges Apple maintains a market share of 65 percent


 in the smartplione market and 70 percent in the performance smartphone market, imposed several


 barriers to entry, and has engaged in anticompetitive conduct. At this stage, the Court finds


 Plaintiffs have sufficiently alleged a dangerous probability of achieving monopoly power. Cf.

 Bf'oacicom, 501 F.3d at 318 (determining whether there Is a dangerous probability of achieving

 monopoly power is a "particularly fact-intensive inquhy" that "courts typically should not resolve


 this question at the pleading stage unless it Is clear on the face of the complaint that the dangerous

 probability standard cannot be met as a matter of law") (citation modified).

        As such, at this stage of the proceedings. Plaintiffs have sufficiently alleged attempted

 monopolization clams. Therefore, the Court denies Apple's motion to dismiss the Second and


 Fourth Claims for Relief for failure to plead Apple's specific Intent to monopolize and dangerous

 probability of achieving monopoly power.

            C. The Plaintiff States' Have Established Parens Patnae Standins to Bring Their
                Claims.

        Finally, the Court considers Apple's assertion that the Plaintiff States lack standing to

 pursue their claims in the Amended Complaint, through either their sovereign capacities or under

 aparens patriae theory. (See Br. at 40 n.6). In opposition, the Plaintiff States contend the Amended


 Complaint establishes parenspatriae standing. (See Opp'n at 39-40). The Court agrees.


        While the Court recognizes that "'States are not normal litigants for the purposes of


 invoking federal jurisdiction[,]'" certain circumstances permitted them to do so. Harrison v.


 Jefferson Par. Sch. Bd, 78 F.4th 765, 769 (5th Cir. 2023) (quoting Massachiisefts v. EPA, 549


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 U.S. 497, 518 (2007)). "[SJtates have at least four types of interests that, if injured, satisfy

 standing's first requirement: sovereign, quasi-sovereign, proprietary, or private." Id. (citing Alfred


 L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 601-02 (1982)). States may also


 sue in multiple capacities, "on behalf of themselves or in the interest of their residents in ^parens


 patriae capacity." Id


         \nparenspa}riae capacity, a State brings an action to "prevent or repair harm to its 'quasi[-


   sovereign mterests[,]'" Hawaii v. Standard Oil Co. ofCal., 405 U.S. 251, 258 (1972), which


 "consist of a set of Interests that the State has in the well-being of its populace," Snapp, 458 U.S.


 at 602; see also Mary! cmd v. Louisiana, 451 U.S. 725, 737 (1981) (explaining that, as parens

pafriae, the State "act[s] as the representative of its citizens . . . where the injury alleged affects


 the general population of [the] State in a substantial way"). In Snapp, the Supreme Court identified

 the following quasi-sovereign interests: "First, a State has a quasi-sovereign interest in the health


 and well-being—both physical and economic—of its residents in general. Second, a State has a


 quasi-sovereign interest in not being discrimmatorily denied its rightful status within the federal

 system." 458 U.S. at 607.


         Courts have found states have parens patriae standing to seek protection for antitrust


 violations. See, e.g,. New York v. Microsoft Corp., 209 F. Supp. 2d 132, 150-52 (D.C.C. 2002)


 (finding "signiflcantQ hamper[ing] [of] competition" by a monopolist is enough for Article III

 standing) (citation modified); In re Ins. Antitrust Litig., 938 F.2d 919, 927 (9th Cir. 1991) ("The

 state's interest in preventing harm to its citizens by antitrust violations is, indeed, a prime instance


 of the interest that the parens patriae can vindicate by obtaining ... an Injunction.") (citing


 modified), rev'ci m part on other grounds sub nom., Hartford Fire Ins, Co. v. Cat, 509 U.S. 764


 (1993); Pennsylvania v. Russell Stover Candies, Inc., No. 93-1972, 1993 WL 145264, at *8 (E.D.



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 Pa. May 6,1993) ("[A] state may . . . seek mjunctive relief for harm to its general economy that is


 caused by a violation of federal antitrust law. ).


         Apple's reliance on Harrisonv. Jefferson Parfsh School Board \sm\sp\aced. {See Br. at 40


 n. 6). In Harrison, the Fifth Circuit held that Louisiana did not have parens pairiae standing to sue

 Jefferson Parish School Board ("JPSB"), a board for a school district located in Louisiana, for

 allegedly discriminating against two students. 78 F.4th at 768, 772-74. Unlike the "classic example


 of suits vindicatmg sovereign interests [such as] those involving public nuisances and economic


 interests," the Court explained Louisiana was "not asserting a separate injury such as being denied


 its full participation in the federal system, nor d[id] it allege injury to its citizens['] health or

 economic well-being in a way that also implicates its own interests." M at 772-73 (citation


 modified). Rather, Louisiana's interest was "wholly derivative of the interests ofJPSB's students."


 Id, at 773. Since Louisiana failed to show it suffered an injury to a quasi" sovereign interest, the


 court found It lacked standing to maintain its suit in federal court. Id. at 774.


        In contrast, the Plaintiff States have properly pleaded sufficient injury to their quasi-

 sovereign interests in the economic well-being of their respective states. The Plaintiff States


 articulate their quasi-sovereign interest in "seek[mg] to enjoin Apple's anticompetitive conduct


 that entrenches its monopoly over, and drives up prices within, U.S. smartphone markets." (Opp'n


 at 39). The Amended Complaint alleges Apple's conduct has affected the "States' general

 economies and substantial segments of their residents who use smartphones[.]" (See, e.g.. Am.


 Compl. ^ 39 (noting Apple's iPhone base totals "more than 250 million devices in the United

 States" and market share is "over 70 percent of the performance smartphone market and over 65


 percent of the broader smartphone market"); id. at \ 198 ("Apple engages in, and its activities

 substantially affect, interstate trade and commerce . . . [and] provides a range of products and




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 services that are marketed, distributed, and offered to consumers throughout tlie United States, in


 the plaintiff States, across state lines, and internationally."); id at ^ 201 ("Apple has willfully

 monopolized the performance smartphone market in the United States through an exclusionary


 course of conduct and . . . anticompetitive acts[.j )). See Microsoft, 209 F. Supp. 2d at 151-52


 (finding parens patriae standing where [m]illioms of citizens of, and hundreds^ if not thousands,

 of enterprises in each of the United Slates and the District of Columbia utilize PCs miming on

 Microsoft software ).


        The Plaintiff States^ interest fits squarely within the Supreme Court's articulation of the

 state s interest in Snapp in securing observance of the terms under which it participates in the


 federal system ... [and] ensuring that the State and its residents are not excluded from the benefits


 that are to flow from [such] participation." 458 US. at 607-08. States have an "interest in the


 removal of barriers to the participation by its residents m the free flow of interstate commerce."


 Id. at 608. Accordingly, the Court finds the Plaintiff States have established their standing to sue

parens patriae at this stage.


 IV. CONCLUSION

        For the reasons set forth above, Apple s motion to dismiss (ECF No. 86) is DENIED. An

 appropriate Order accompanies this Opinion.




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